Case 2:04-cV-02072-.]P|\/|-de Document 35 Filed 05/13/05 Page 1 of 3 Page|D 49

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:cN THE UNITED s'rATEs DISTRICT coUR'r 135 -
FoR THE wEsTERN DISTRICT oF TENNESSEEU.; Hl,:`\.,; f o w !9_ w
wEsTERN DIvIsIoN '/ mr »J ..:1. .

 

 

MARTIN McCLAIN, individually,
and d/b/a MAC’S PLACE BAR &
GRILLlr

Plaintiff,

V.
No. 04-2072 Ml/V
CITY OF MILLINGTON, TENNESSEE,
a municipal corporation,

TULLY REED, JERRY LADD,

TROY WALLS and MICHAEL WEST,
individually, and in their
official capacities as police
officers for the

City of Millington, Tennessee,

Defendants.

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ORDER SETTING ASIDE PORTION OF THE MAGISTRATE JUDGE'S MARCH 8,
2005, ORDER
AND
ORDER GRANTING PLAINTIFF'S MOTION TO AMEND COMPLAINT TO INCREASE
THE AD DAMNUM

 

Before the Court is Plaintiff's appeal of a portion of the
Magistrate Judge's March 8, 2005, Order Granting in Part and
Denying in Part Plaintiff’s Motion to Amend Scheduling Order,
filed March 18, 2005.l Defendants responded in Opposition on

March 23, 2005. In particular, Plaintiff objects to the portion

 

l The Magistrate Judge treated Plaintiff's motion as a
motion to file an amended complaint pursuant to Federal Rule of
Civil Procedure lB(a).

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wnh aule 5a and/or 79(3) FHCP on § - \€’ '%j

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of the Magistrate Judge’s order denying Plaintiff's motion to
amend his Complaint to increase the ad damnum from $200,000 to
$500,000.

Under the Federal Rules of Civil Procedure, this Court may
modify or set aside any portion of a magistrate judge’s order on
a nondispositive matter if it is clearly erroneous or contrary to
law. Fed. R. Civ. P. 72(a). Upon review of the parties'
submissions as well as the Magistrate Judge's March 8, 2005,
order, the Court finds that the portion of the Magistrate Judge's
order denying Plaintiff's motion to amend his Complaint to
increase the ad damnum from $200,000 to $500,000 Was clearly
erroneous. Accordingly, the Court SETS ASIDE that portion of the
Magistrate Judge’s March 8, 2005, order and GRANTS Plaintiff’s
motion to amend his Complaint to increase the ad damnum from

$200,000 to SSO0,000.

30 ORDERED this 22 day of May, 2005.

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ON P. MCCALLA
ITED STATES DISTRICT JUDGE

  

    
 

 

      

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Honorable J on McCalla
US DISTRICT COURT

